CaseCase: 24-40248
     2:11-cv-00084     Document:
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                               1613       Page: 1 DateinFiled:
                                             on 02/19/25 TXSD  02/19/2025
                                                                   Page 1 of 2
                                                                             United States Courts
                                                                           Southern District of Texas
                                                                                     FILED
                                                                                      2/19/2025
           United States Court of Appeals Nathan Ochsner, Clerk of Court
                for the Fifth Circuit
                                                                 United States Court of Appeals
                                                                          Fifth Circuit


                               ___________FILED
                                                                 October 11, 2024
                                No. 24-40248                         Lyle W. Cayce
                               ___________                                Clerk

   M. D., by next friend Sarah R. Stukenberg; D. I., by next
   friend Nancy G. Pofahl; Z. H., by next friend Carla B.
   Morrison; S. A., by next friend Javier Solis; A. M., by
   next friend Jennifer Talley; J. S., by next friend Anna J.
   Ricker; K. E., as next friend John W. Cliff, Jr.; M. R., as next
   friend Bobbie M. Young; J. R., as next friend Bobbie M. Young;
   H. V., by next friend Anna J. Ricker; P. O., as next friend
   Anna J. Ricker; L. H., as next friend Estela C. Vasquez; C. H.,
   by next friend Estela C. Vasquez; S. R., as next friend Bobbie
   M. Young; S. S., as next friend Estela C. Vasquez; A. R., as next
   friend Tom McKenzie, individually and on behalf of all others similarly
   situated,

                                                        Plaintiffs    Appellees,

                                    versus

   Greg Abbott, in his official capacity as Governor of the State of Texas;
   Cecile Erwin Young, in her official capacity as Executive Commissioner
   of the Health and Human Services Commission of the State of Texas;
   Stephanie Muth, in her official capacity as Commissioner of Texas
   Department of Family and Protective Services,

                                            Defendants               Appellants.
                     ____________________________

                 Appeal from the United States District Court
                     for the Southern District of Texas
                           USDC No. 2:11-CV-84
                  ____________________________
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                                               on 02/19/25 TXSD  02/19/2025
                                                                     Page 2 of 2
                                      No. 24-40248




   Before Jones, Clement, and Wilson, Circuit Judges.

                                 JUDGMENT

            This cause was considered on the record on appeal and was argued by
   counsel.
            IT IS ORDERED and ADJUDGED that the judgment of the
   District Court is REVERSED, and the cause is REMANDED to the
   District Court for further proceedings in accordance with the opinion of this
   Court.
            The judgment or mandate of this court shall issue 7 days after the time
   to file a petition for rehearing expires, or 7 days after entry of an order denying
   a timely petition for panel rehearing, petition for rehearing en banc, or motion
   for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
   may shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.




                                Certified as a true copy and issued
                                as the mandate on Feb 19, 2025
                                Attest:
                                Clerk, U.S. Court of Appeals, Fifth Circuit




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